Case 1:19-mc-00084-JPH-TAB Document 132-2 Filed 03/30/23 Page 1 of 1 PageID #: 2629




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

    In Re:
    The Application of:

                                                Case No.: 1:19-mc-00084-JPH-TAB
    ELI SABAG, for an Order Pursuant to 28
    U.S.C. § 1782 to Conduct Discovery for
    Use in Foreign Proceedings.


         ORDER ON MOTION FOR LEAVE TO FILE OVERSIZED REPLY BRIEF

         Lars Windhorst has sought leave to file an oversized omnibus reply brief in

   support of several pending motions, namely, Doc. 115 and Doc. 116. Pursuant to Local

   Rule 7-1(e)(2), the Court finds extraordinary and compelling reasons to permit a single

   oversized reply brief, rather than two separate replies. Accordingly, Mr. Windhorst’s

   Motion for Leave is granted.

         SO ORDERED on




   Distribution: to all parties of record via CM/ECF
